                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION - DETROIT

IN THE MATTER OF:
 Eastlake Investments, LLC                      Bankruptcy Case No. 19-42309
                                                Honorable Thomas J. Tucker
                        Debtor.                 Chapter 7

                                                Adversary Proceeding No. 19-04307
 FRED J. DERY, Chapter 7 Trustee,               Hon. Thomas J. Tucker

                        Plaintiff,
 v.

 LONG LAKE REALTY GROUP,
 LLC, a Michigan limited liability
 company, DEAN J. GROULX, an
 individual, and WENDY A.
 GRIMALDI-GROULX, an individual

                        Defendants.


  STIPULATION FOR ENTRY OF ORDER DISMISSING ADVERSARY
      PROCEEDING WITH PREJUDICE AND WITHOUT COSTS

         NOW COMES Chapter 7 Trustee, Fred J. Dery, (the “Trustee”), Long Lake

Realty Group, LLC, Dean J. Groulx, and Wendy A. Grimaldi-Groulx (collectively,

the “Defendants”), each by and through their undersigned counsel who do hereby

stipulate to the entry of the attached order.

         Approved as to form and content.




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STEVENSON & BULLOCK, P.L.C.               FRANK & FRANK, PLLC

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Dated: August 24, 2020                    Dated: August 24, 2020




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 ORDER DISMISSING ADVERSARY PROCEEDING WITH PREJUDICE
                   AND WITHOUT COSTS

        This case is before the Court upon the stipulation of the parties filed on August

24, 2020; the Court having approved a compromise between and among, inter alios,

the Plaintiff and Defendants; and finding good cause to enter this Order.

        NOW THEREFORE,

        IT IS ORDERED that the above captioned adversary proceeding is dismissed

with prejudice and without costs to either party.




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